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                              UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF CONNECTICUT
                                         BRIDGEPORT DIVISION
-----------------------------------------------------------x
                                                          :
In re:                                                       Chapter 11

HO WAN KWOK, et al.,1                                            Case No. 22-50073 (JAM)

                                 Debtors.                        (Jointly Administered)


-----------------------------------------------------------

LUC A. DESPINS, CHAPTER 11
TRUSTEE,

                                 Plaintiff,
v.                                                               Adv. Proc. 25-05008


CyGlass Inc,

                                 Defendant.
-----------------------------------------------------------


           NOTICE OF APPLICABILITY OF ORDER DIRECTING
PARTIES TO MEDIATION, APPOINTING THE HONORABLE JAMES J. TANCREDI
    AS MEDIATOR, AND AMENDING ORDER APPROVING PROCEDURES
     APPLICABLE TO AVOIDANCE CLAIM ADVERSARY PROCEEDINGS

         PLEASE TAKE NOTICE that the Order Directing Parties to Mediation, Appointing the

Honorable James J. Tancredi As Mediator, and Amending Order Approving Procedures Applicable

to Avoidance Claim Adversary Proceedings [Main Case ECF No. 3163] appended hereto as

Exhibit A, is hereby made applicable to and governs this adversary proceeding.


1
 The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles Kwok,
as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever Holdings LLC (last
four digits of tax identification number: 8202) and Genever Holdings Corporation. The mailing address for the
Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul Hastings LLP, 200 Park Avenue, New
York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok (solely for purposes of notices and
communications).
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Dated:   February 18, 2024
         New Haven, Connecticut


                                     By: /s/ Patrick R. Linsey
                                        Patrick R. Linsey (ct29437)
                                        NEUBERT, PEPE & MONTEITH, P.C.
                                        195 Church Street, 13th Floor
                                        New Haven, Connecticut 06510
                                        (203) 781-2847
                                        plinsey@npmlaw.com




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                                   Exhibit A

                  (Avoidance and Mediation Procedures Order)
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                              UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF CONNECTICUT
                                         BRIDGEPORT DIVISION
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                                                              :
In re:                                                        : Chapter 11
                                                              :
HO WAN KWOK, et al.,                                          : Case No. 22-50073 (JAM)
                                                              : Jointly Administered
                  Debtors. 1                                  :
                                                              : Re: ECF Nos. 2578, 3003
--------------------------------------------------------------x


                ORDER DIRECTING PARTIES TO MEDIATION,
       APPOINTING THE HONORABLE JAMES J. TANCREDI AS MEDIATOR,
              AND AMENDING ORDER APPROVING PROCEDURES
        APPLICABLE TO AVOIDANCE CLAIM ADVERSARY PROCEEDINGS

        Upon the motion (the “Motion”) 2 [ECF No. 3003] of Luc A. Despins, in his capacity as the

chapter 11 trustee (the “Trustee”) appointed in the chapter 11 case of Ho Wan Kwok (the

“Debtor”), for the entry of an order (this “Order”), pursuant to sections 105(a) and 363 of Title 11

of the United States Code (the “Bankruptcy Code”), Rules 7016, 7026, and 9006 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 7016-1 of the District of

Connecticut Local Rules of Bankruptcy Procedure (the “Local Bankruptcy Rules”), to modify the

Court’s Order Approving Procedures Applicable to Avoidance Claim Adversary Proceedings

[ECF No. 2578] (the “Avoidance Procedures Order”) and thereby modifying the Avoidance Action

Procedures to provide for the inclusion of certain procedures governing mediation of Avoidance

Actions; and this Court having jurisdiction to consider the Motion and the relief requested therein



1
    The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
    Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever Holdings
    LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The mailing address
    for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul Hastings LLP, 200 Park
    Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok (solely for purposes
    of notices and communications).
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    Capitalized terms used but not otherwise defined in this Order have the meanings ascribed to them in the Motion.
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in accordance with 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference from the

United States District Court for the District of Connecticut; and consideration of the Motion and

the relief requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue

being proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found

that the relief requested in the Motion is in the best interest of the Debtor’s chapter 11 estate, its

creditors, and all parties in interest; and due and sufficient notice of the Motion having been given

under the particular circumstances; and it appearing that no other or further notice need be given;

and upon all of the proceedings had before this Court, including a hearing held April 23, 2024; and

any objections to the relief requested herein having been withdrawn or overruled on the merits;

and after due deliberation and sufficient cause appearing therefor, it is hereby ORDERED THAT:

       1.      The Motion is granted as set forth herein.

       2.      The following amended Avoidance Action Procedures shall govern the Avoidance

Actions:

               a.     The Avoidance Action Procedures shall apply to any adversary proceedings
       commenced by the Trustee on or after February 1, 2024, in which the Trustee asserts claims
       solely under sections 544, 547, 548, 549, and 550 of the Bankruptcy Code and analogous
       claims under applicable state law (the “Avoidance Actions”).
               b.     Upon filing a complaint commencing any Avoidance Action (an
       “Avoidance Complaint”), the Trustee shall file a Notice of Applicability of Avoidance
       Action Procedures in a form substantially similar to that attached hereto as Exhibit 1 (the
       “Avoidance Action Procedures Notice”). The Trustee shall serve a copy of the Avoidance
       Action Procedures Notice on each defendant in an Avoidance Action (an “Avoidance
       Defendant”) together with the Summons and Avoidance Complaint pursuant to Bankruptcy
       Rule 7004.
               c.     Motions affecting multiple Avoidance Actions shall be filed in each
       applicable Avoidance Action and shall use a caption substantially in the form attached
       hereto as Exhibit 2.
               d.     To the extent that an Avoidance Complaint (including exhibits) contains
       information that is designated confidential or highly confidential pursuant to the Protective
       Order [Main Case ECF No. 923] (the “Protective Order”) and the Stipulated Addendum to
       Protective Order [Main Case ECF No. 2460] (the “P.O. Addendum”), the Trustee may file

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      the Avoidance Complaint under seal (a “Sealed Avoidance Complaint”), provided,
      however, the Trustee shall file unsealed a copy of the Avoidance Complaint that redacts
      any information that is designated confidential or highly confidential (a “Redacted
      Avoidance Complaint”). Service of a Redacted Avoidance Complaint shall constitute
      sufficient service of a complaint as required by Bankruptcy Rule 7004. Notwithstanding
      anything to the contrary in the Protective Order and the P.O. Addendum, upon any
      Avoidance Defendant and its counsel each executing copies of Exhibit A to the Protective
      Order and, if applicable, Exhibit A to the P.O. Addendum, the Trustee may provide a copy
      of the unredacted Avoidance Complaint to such Avoidance Defendant. Following the
      appearance of any self-represented Avoidance Defendant, such Avoidance Defendant shall
      confer with counsel for the Trustee and advise whether they prefer to receive notice by
      email or by U.S. Mail and the Trustee shall provide any required notices to the self-
      represented Avoidance Defendant consistent with their stated preference.
              e.       An Avoidance Defendant’s time to respond to any Avoidance Complaint
      (the “Response Date”) shall be sixty (60) days from the date that service is effected on such
      Avoidance Defendant, provided, however, that, without further order of the Court, the
      Trustee and any Avoidance Defendant may stipulate to further extend the defendant’s
      Response Date up to ninety (90) additional days. Any such stipulation shall be made in
      writing and the Trustee shall file such stipulation or otherwise shall file a notice of the
      stipulated extension on the docket in the applicable Avoidance Action. Notwithstanding
      anything herein to the contrary, consistent with the Court’s Order Staying Adversary
      Proceedings and Granting Other Relief Pending Disposition of Criminal Proceeding
      [Main Case ECF No. 3038]:
                     i.       The claims against Avoidance Defendants set forth on Exhibit 3-A
              attached hereto (the “Stayed Avoidance Claims”) shall be stayed pending further
              order of the Court. At such time that the stay of the Stayed Avoidance Claims is
              lifted, the Court shall determine whether the Stayed Avoidance Claims shall be
              subject to the Mediation Procedures and set deadlines for Avoidance Defendants in
              such actions to respond to the Avoidance Complaints.
                    ii.       The claims against Avoidance Defendants set forth on Exhibit 3-B
              attached hereto (the “Partially Stayed Avoidance Claims”) shall be stayed pending
              further order of the Court solely as to any legal or factual issues concerning whether
              ACA Capital Group Ltd, Anton Development Limited, G Club International
              Limited, G Club Operations LLC, G Fashion, G Fashion Media Group Inc., GFNY
              Inc., Hamilton Capital Holding Ltd, Himalaya International Clearing Ltd, Leading
              Shine Limited, Rule of Law Foundation III Inc., Rule of Law Society IV Inc., and
              Saraca Media Group Inc. were alter-egos of the Debtor and/or whether the property
              of such entities was property of the Debtor and/or of the Debtor’s chapter 11 estate
              (collectively, the “Stayed Issues”). For the avoidance of doubt, Partially Stayed
              Avoidance Claims shall proceed to mediation to the extent provided by the

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              Mediation Procedures (as defined herein) as to all issues that are not Stayed Issues,
              provided, however, Stayed Issues may also be mediated on a voluntary basis.
                   iii.       Upon the filing of any new Avoidance Action, the Trustee may
              designate claims in such action to be Stayed Avoidance Claims or Partially Stayed
              Avoidance Claims by filing a notice of such designation (a “Stay Designation
              Notice”) in the relevant Avoidance Action. Any Avoidance Defendant wishing to
              challenge a Stay Designation Notice shall file a response to such notice in the
              relevant Avoidance Action within seven (7) days of appearing in same, to which the
              Trustee may reply within fourteen (14) days of the filing of such response. Any
              disputes over a Stay Designation Notice shall be determined by the Court.
              f.       In the event that any Avoidance Defendant responds to an Avoidance
      Complaint by filing a motion pursuant to Civil Rule 12, the Trustee shall have sixty (60)
      days to respond to such motion, provided, however, if such a motion is filed with respect
      to claims that are stayed or with respect to claims that become stayed while such a motion
      is pending, the Trustee shall have sixty (60) days to respond to such motion following the
      termination of the stay. An Avoidance Defendant shall have thirty (30) days to reply to any
      response by the Trustee to a motion filed pursuant to Civil Rule 12.
              g.       Unless otherwise ordered by the Court, no initial pretrial conference
      pursuant to Bankruptcy Rule 7016 will be held prior to discovery in any Avoidance Action
      and, accordingly, the Summons issued by the Clerk of the Court and served by the Trustee
      will not include a date for a pretrial conference. To the extent that a party to an Avoidance
      Action believes that a pretrial conference is necessary to address scheduling or other issues,
      any party may request such a conference at any time by filing a request on the docket in
      the Avoidance Action.
              h.       As soon as practicable following the Response Date, to the extent that
      claims in an Avoidance Action are not stayed, the parties shall confer pursuant to Civil Rule
      26(f) (the “Initial Case Conference”) and, thereafter, the parties shall either file a joint
      proposed scheduling order governing discovery, summary judgment, and other pretrial
      proceedings, subject to Court approval. If the Court does not approve the joint proposed
      scheduling order, the Court shall schedule a pretrial conference to determine a scheduling
      order. If the parties do not agree on a joint proposed scheduling order, the parties shall
      request a pretrial conference to determine a scheduling order. If claims in an Avoidance
      Action are stayed, the parties as to the stayed claims shall hold the Initial Case Conference
      as soon as practicable following the termination of the stay and thereafter shall otherwise
      comply with the foregoing procedure. Civil Rule 26 (to the extent incorporated by
      Bankruptcy Rule 7026), District of Connecticut Local Civil Rule 26, and District of
      Connecticut Local Bankruptcy Rule 7026-1 shall apply to the Avoidance Actions except to
      the extent that they are expressly modified by this Order or otherwise by order of the Court.
      For the avoidance of doubt, the stay effective during Mediation Proceedings shall include



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      all formal discovery but shall not preclude any informal exchange of documents or
      information on a voluntary basis or as an Assigned Mediator (as defined herein) may direct.
              i.       Any party to an Avoidance Action may request that the Avoidance Action
      Procedures be modified as applied in such Avoidance Action for good cause shown. Such
      modification shall be requested by motion filed in the applicable Avoidance Action.
              j.       Notwithstanding anything herein to the contrary, the Avoidance Action
      Procedures shall be subject to the following procedures governing mediation proceedings
      (the “Mediation Procedures”) as to any Avoidance Defendant that was served with process
      prior to April 4, 2024:
                     i.       Upon the appearance of any Avoidance Defendant in an Avoidance
              Action prior to the expiration of such Avoidance Defendant’s deadline to respond
              to the Trustee’s Avoidance Complaint, the Trustee’s claims against such Avoidance
              Defendant in such Avoidance Action shall automatically (and without further order)
              be referred (the “Mediation Referral”) to non-binding mediation proceedings (as
              set forth herein, the “Mediation Proceedings”), provided, however, no Mediation
              Referral shall be deemed to have occurred prior to May 15, 2024.
                    ii.       The deadline to respond to the Avoidance Complaint for any
              Avoidance Defendant that filed a notice of appearance in its Avoidance Action prior
              to May 15, 2024 but is subject to a Mediation Referral on May 15, 2024 shall be
              extended through the termination of Mediation Proceedings.
                   iii.       Upon a Mediation Referral, the claims subject to mediation shall be
              stayed (including, without limitation, as to such Avoidance Defendant’s obligation
              to respond to the Avoidance Complaint, or, if any such response is filed, as to any
              obligation of the Trustee to further respond), pending the conclusion of Mediation
              Proceedings.
                   iv.        If the Avoidance Defendant appears in the Avoidance Action after
              the Avoidance Defendant’s time to respond to the Avoidance Complaint has
              expired, no Mediation Referral shall occur except upon a written stipulation by the
              Trustee and such Avoidance Defendant filed in the Avoidance Action or by order of
              the Court.
                    v.        Consistent with the foregoing subparagraphs 2(e) (i) and (ii), the
              Stayed Avoidance Claims shall not be automatically referred to Mediation
              Proceedings and the Partially Stayed Avoidance Claims shall be automatically
              referred to Mediation Proceedings for all issues that are not Stayed Issues. For the
              avoidance of doubt, the staying of claims in an Avoidance Action as to a particular
              Avoidance Defendant shall not stay claims in the Avoidance Action as to any other
              Avoidance Defendant, nor shall the staying of claims in a particular Avoidance
              Action as against an Avoidance Defendant stay any other claims by the Trustee
              against such Avoidance Defendant outside of such Avoidance Action (whether in
              other Avoidance Actions or otherwise).
                   vi.        Notwithstanding anything herein to the contrary, no claims by the
              Trustee against the Avoidance Defendants set forth on the attached Exhibit 4 shall
              be subject to a Mediation Referral except upon a stipulation between the Trustee
              and such Avoidance Defendant or by Order of the Court. To the extent that an
              Avoidance Defendant was not served with process prior to April 4, 2024, the
              Trustee may stipulate with such Avoidance Defendant to the application of the
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              Mediation Procedures (with such stipulation to be made in writing and filed in the
              relevant Avoidance Action), or, following the service of such Avoidance Defendant,
              the Trustee may file a motion (with notice to the Avoidance Defendant) requesting
              that the Mediation Procedures apply to such Avoidance Defendant.
              k.       United States Bankruptcy Judge James J. Tancredi (“Judge Tancredi”) is
      hereby appointed as the mediator (the “Mediator”) and shall oversee all Mediation
      Proceedings, provided, however, mediations shall be conducted by Judge Tancredi or by a
      mediator from an approved panel of mediators of Avoidance Actions (the “Mediation
      Panel”) if Judge Tancredi determines that it would be beneficial to create such a panel. The
      members of any Mediation Panel shall be selected by the Judge Tancredi, subject to the
      Court’s approval of the appointment of each such mediator and rates of compensation
      applicable to same. For the avoidance of doubt, the Trustee or any Avoidance Defendant
      subject to the Mediation Procedures may suggest potential mediators for appointment to
      the Mediation Panel to Judge Tancredi and Judge Tancredi may in his discretion consult
      with the Trustee or such Avoidance Defendants regarding their suggestions. The Trustee
      shall request the Court’s approval of mediators selected by Judge Tancredi by filing a
      motion in the Main Case only in accordance with all applicable rules and served on all
      Avoidance Defendants subject to the Mediation Procedures, and the appointment of a
      mediator to the Mediation Panel shall become effective upon approval by the Court
      following the Court’s consideration of the motion and any objections or responses to same.
              l.       Within fourteen (14) days of any Mediation Referral or such later date as
      Judge Tancredi may direct, the Trustee and the relevant Avoidance Defendant shall jointly
      (and with copies to all parties’ counsel, or, if self-represented, consistent with the foregoing
      subparagraph (d)) contact Judge Tancredi by letter (the “Mediation Letter”) submitted via
      Judge Tancredi’s courtroom deputy briefly (and in a non-argumentative manner) describing
      the claims at issue and advising regarding their availability to participate in mediation in
      the following sixty (60) days. Any party to a mediation may request in such letter (i) that
      the mediation session(s) take place via videoconference, or (ii) that certain participants in
      the mediation (including any counsel, the Trustee, or an Avoidance Defendant’s
      representative as provided in subparagraph (s) herein) be permitted to attend via
      videoconference. Following receipt of the Mediation Letter, Judge Tancredi shall assign
      the Avoidance Action to be mediated by himself or by a member of the Mediation Panel if
      one is established (the “Assigned Mediator”) and shall determine whether the mediation
      will be held via videoconference and/or whether any participants may participate via
      videoconference. For the avoidance of doubt, this Order refers to Judge Tancredi by his
      name in his capacity as the Mediator. The defined term “Assigned Mediator” means Judge
      Tancredi or a member of the Mediation Panel, if one is established, as assigned. Unless
      Judge Tancredi orders that a mediation shall be held via videoconference or a participant
      is expressly excused by Judge Tancredi or by the Assigned Mediator to a mediation session,
      participants shall attend all mediation sessions in person. Judge Tancredi may order that
      related Mediation Proceedings (including, where appropriate, where claims are asserted
      against multiple defendants in a single Avoidance Action) be consolidated.
              m.       Alternatively, any Avoidance Defendant that believes that the claims against
      it should not be subject to mediation may, within fourteen (14) days of the Mediation
      Referral, file a motion with the Court setting forth good cause to exempt the claims against
      it from the Mediation Procedures, with notice to the Trustee and Judge Tancredi, provided,

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      however, the following Avoidance Defendants may opt out of Mediation Proceedings upon
      written notice to the Trustee within seven (7) days of the entry of this Order: Nardello &
      Co. Ltd, Terris-Phoenix Ltd, Post Oak Motors Ltd, and Weddle Law PLLC. No Mediation
      Proceedings as to such an Avoidance Defendant shall occur pending the Court’s
      determination of such a motion. If the Court grants the motion, the Mediation Proceedings
      shall be deemed immediately terminated and the Avoidance Defendant shall respond to the
      Trustee’s Avoidance Complaint within thirty (30) days of such termination. If the Court
      denies the motion, the Trustee and the Avoidance Defendant shall contact Judge Tancredi
      by letter within fourteen (14) days of such denial pursuant to the procedure set forth in the
      foregoing paragraph l to obtain an Assigned Mediator.
                n.      Upon notification of their assignment, the Assigned Mediator shall
      determine whether they have any conflicts with respect to the Avoidance Action subject to
      mediation and, in the event of a conflict, shall recuse themself and not act in the particular
      mediation unless such conflict is disclosed to and expressly waived by the Trustee and the
      Avoidance Defendant. If the Assigned Mediator is recused, Judge Tancredi shall assign an
      alternative mediator from the Mediation Panel or shall assign himself to the mediation. If
      a party to Mediation Proceedings believes that a conflict of interest precludes the service
      of the Assigned Mediator or otherwise opposes the assignment of the Assigned Mediator,
      such party may seek the assignment of a different Assigned Mediator by letter submitted
      to Judge Tancredi via his courtroom deputy (with copies to the opposing party and the
      Assigned Mediator) or by motion filed with the Court within fourteen (14) days of a party’s
      discovery of the basis for seeking such relief. To the extent that a conflict is disclosed by
      Assigned Mediator or the assignment of the Assigned Mediator is timely challenged by a
      party to a Mediation Proceeding, such Mediation Proceeding shall be suspended pending
      (a) selection by Judge Tancredi of an alternative mediator to serve as the Assigned
      Mediator, (b) waiver of the conflict, or (c) the denial of any request for reassignment.
                o.      Upon the assignment of the Assigned Mediator, the Trustee and the
      Avoidance Defendant shall confer with the Assigned Mediator regarding a date for the
      initial mediation session. The Assigned Mediator shall schedule the mediation to occur
      within sixty (60) days of assignment, provided, however, upon the consent of the parties
      and the Assigned Mediator, the mediation session may be scheduled on a later date that is
      within the deadline to complete Mediation Proceedings set forth in ¶ (t) herein. If the
      mediation is to occur in person, the Assigned Mediator shall also select the location of the
      mediation. Acceptable locations for the mediation shall include: (i) the offices of Trustee’s
      counsel, (ii) a facility of the United States Bankruptcy Court for the District of Connecticut,
      or (iii) the offices of the Assigned Mediator. The Assigned Mediator shall provide at least
      twenty-one (21) days’ written notice of the first date, time, and place of the mediation (the
      “Mediation Notice”), which Mediation Notice the Assigned Mediator shall cause to be filed
      in the relevant Avoidance Action.
                p.      Upon consent of the parties at least seven (7) days prior to any scheduled
      mediation session, the Assigned Mediator may (at their discretion) reschedule such
      mediation session. If the Trustee or the relevant Avoidance Defendant seeks to reschedule
      a mediation session absent the counter-party’s or the Assigned Mediator’s consent or within
      seven (7) days prior to the mediation session or objects to the location chosen by the
      Assigned Mediator, such request or objection shall be made by letter to Judge Tancredi via
      his courtroom deputy and the counter-party and/or Assigned Mediator shall submit any

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      response to Judge Tancredi likewise by letter to his courtroom deputy. Judge Tancredi will
      then determine: (i) whether the mediation session shall be rescheduled and, if the mediation
      session was scheduled to occur in less than seven (7) days from the date of the request,
      whether the Assigned Mediator is entitled to compensation and which party(ies) shall be
      responsible for same; and/or (ii) any objection as to the location of the mediation.
               q.     All proceedings and writings incident to Mediation Proceedings shall be
      considered privileged and confidential and subject to all protections of Federal Rule of
      Evidence 408 and shall not be reported or admitted as evidence for any reason except to
      prove that a party failed to comply with the Mediation Procedures. No stenographic,
      written, electronic, or any other form of recording or internet posting shall be made at any
      time during or after the Mediation Proceedings except to memorialize a definitive
      settlement agreement approved by Judge Tancredi. Judge Tancredi (including in his
      capacity as the Assigned Mediator) and his agents shall have absolute judicial immunity as
      provided under state, federal, and common law, from liability for any act or omission in
      connection with the Mediation Proceedings, and from compulsory process to testify or
      produce documents in connection with the Mediation Proceedings except as set forth in
      this paragraph, and shall be held harmless by all parties to the Mediation Proceedings.
      Neither any Assigned Mediator nor Judge Tancredi shall be subpoenaed or called as a
      witness or expert by any party except as set forth in this paragraph. No party shall attempt
      to compel the testimony of, or compel the production of documents from, the Assigned
      Mediator (including his/her agents, partners, or employees of their respective law firms or
      organizations) or Judge Tancredi (including his agents, partners, or employees), provided,
      however, subject to Court order, the Assigned Mediator or Judge Tancredi may be called
      as a witness by any party and may be compelled to testify on a limited basis in proceedings
      where it is alleged that a party failed to comply with the Mediation Procedures. Any
      documents provided to the Assigned Mediator or Judge Tancredi by the parties shall be
      destroyed within thirty (30) days after the filing of the Mediator’s Report unless the
      Assigned Mediator or Judge Tancredi is otherwise ordered by the Court.
               r.     The Assigned Mediator shall preside over any mediation sessions with full
      authority to determine the nature and order of the parties’ presentations, and the rules of
      evidence shall not apply. The Assigned Mediator may implement additional procedures
      which are reasonable and practical under the circumstances. Judge Tancredi is authorized
      to seek any amendments to this Order during the Mediation Proceedings that he believes
      are necessary to assist with the mediation. The Trustee and any Avoidance Defendant that
      is a party to Mediation Proceedings may communicate ex-parte with the Assigned Mediator
      to the extent that their Assigned Mediator deem appropriate. The Trustee and his counsel
      may communicate ex-parte with Judge Tancredi concerning the implementation of these
      Mediation Procedures, the selection of mediators to the Mediation Panel, the categorization
      of Avoidance Actions, and/or any recommendations issued by Judge Tancredi to the Court.
               s.     The parties to any Mediation Proceeding shall participate in such
      proceeding as scheduled and presided over by the Assigned Mediator in good faith and
      with a view toward reaching a consensual resolution. Mediation sessions shall be attended
      (either in person or, where permitted, by videoconference) by a representative of the
      Avoidance Defendant with full settlement authority (and if an Avoidance Defendant is
      represented by counsel, their counsel) as well as by the Trustee and/or counsel for the
      Trustee (who must have full settlement authority from the Trustee). Judge Tancredi or the

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      Assigned Mediator may excuse the Avoidance Defendant’s representative from attending
      any mediation session; however, in such case a representative with full settlement authority
      shall always remain available during the mediation session. Assigned Mediators may, in
      their discretion, request the parties to prepare mediation statements in advance of
      mediation; unless otherwise instructed by the Assigned Mediator, such mediation
      statements shall not be shared with the other party to the mediation. The Assigned Mediator
      may issue further instructions regarding the mediation statements to the parties.
              t.      The Assigned Mediator, in the Mediation Notice or in a separate notice that
      need not be filed, may require the parties to provide to the Assigned Mediator any relevant
      papers and exhibits, statements of position, and/or settlement proposals. In the Assigned
      Mediator’s discretion, upon notice (which need not be filed), the Assigned Mediator may
      adjourn a mediation or move a mediation to a different location within those locations
      authorized by the Mediation Procedures. The Assigned Mediator may also continue a
      mediation that has been commenced for additional sessions upon the request of the parties
      to the mediation or if the Assigned Mediator determines that a continuation is in the best
      interest of the parties, provided, however, no Mediation Proceedings shall continue for a
      period beyond one-hundred-eighty (180) days following submission of the Mediation
      Letter unless the period to mediate is extended by order of this Court on the request of
      Judge Tancredi, which request and order shall be filed on the docket in the relevant
      Avoidance Action. In the event that additional mediation sessions are held beyond the
      initial mediation session, the Assigned Mediator may, in their discretion, permit that such
      sessions be held by videoconference.
              u.      All matters concerning the responsibility of parties to Mediation
      Proceedings to compensate any Assigned Mediator shall be reserved pending the Court’s
      consideration of the appointment of a Mediation Panel, if any.
              v.      Within seven (7) days after the conclusion of the mediation, the Assigned
      Mediator shall file a report (the “Mediator’s Report”) in the relevant Avoidance Action
      indicating whether the parties to the Mediation Proceedings complied with the Mediation
      Procedures and whether the Mediation Proceedings resulted in a settlement. The
      Mediator’s Report shall not address the substance of mediation discussions or provide
      details of any settlement that might be reached. In addition, in the case of material
      noncompliance with the Mediation Procedures, an Assigned Mediator may file an interim
      report (an “Interim Report”) in the relevant Avoidance Action advising the Court of such
      noncompliance. Where a Mediator’s Report or an Interim Report indicates noncompliance
      with the Mediation Procedures, the Court may (without the filing of a motion by any party)
      schedule a hearing to consider the appropriateness of sanctions against the noncompliant
      party. Such sanctions may include, without limitation, assessing costs of the Mediation
      Proceedings and/or the opposing party’s attorneys’ fees against the noncompliant party.
      Additionally, in cases of willful, persistent, or egregious noncompliance, the Court may
      enter a default judgment or dismissal against the party that failed to comply with the
      Mediation Procedures. Additionally, if any party to Mediation Proceedings is not
      attempting to schedule or resolve the mediation in good faith, an opposing party may file
      a motion for sanctions with the Court. Litigation with respect to the issuance of sanctions
      shall not delay the commencement of mediation. Failure to achieve settlement alone
      cannot constitute grounds for a finding of “bad faith” or the imposition of sanctions.



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                w.      If the Mediator’s Report indicates that the Mediation Proceedings resulted
       in a settlement and the settlement requires approval of the Court, the Trustee shall file a
       motion requesting such approval within thirty (30) days of the issuance of the Mediator’s
       Report. The Trustee may submit a motion seeking such approval under seal (with access
       limited to the Trustee, the relevant Avoidance Defendant, the Official Committee of
       Unsecured Creditors, and the United States Trustee) to the extent the Trustee believes that
       public disclosure of the settlement terms would harm the estate and/or would implicate
       commercially sensitive or otherwise confidential information public disclosure of which
       would prejudice parties to the settlement. Where a motion is filed under seal, the Trustee
       shall file on the public docket a copy of the motion that redacts any commercially sensitive
       or otherwise confidential information.
                x.      If a Mediator’s Report does not indicate a full settlement of the claims
       between the Trustee and the Avoidance Defendant, the deadline to respond to the Trustee’s
       Avoidance Complaint shall be thirty (30) days from the filing of the Mediator’s Report.
       The Trustee shall provide notice of the Mediator’s Report to any self-represented
       Avoidance Defendants addressed by the report consistent with the foregoing subparagraph
       (d).
                y.      Members of the Mediation Panel, if one is established, shall regularly
       consult with Judge Tancredi concerning the status of Mediation Proceedings to which they
       are assigned. In addition, to facilitate the mediation process and to promote efficiency and
       minimize burdens, the Trustee may propose to Judge Tancredi categories of Avoidance
       Action claims (whether by amounts of transfers, timing of transfers, alter egos at issue, or
       otherwise) for purposes of Mediation Proceedings (including consolidation of same). Such
       categorization shall not have any binding effect on any Avoidance Defendants as relates to
       the merits of claims or defenses in an Avoidance Action. Judge Tancredi may submit
       reports to the Court regarding the progress of Mediation Proceedings and any
       recommendations of Judge Tancredi to promote the efficient administration of the
       Avoidance Actions. Such reports shall be issued in writing and filed on the docket in the
       Main Case with notice to any Avoidance Defendants that would be impacted by any
       recommendations of Judge Tancredi. Without limitation, these recommendations may
       include that certain claims in Avoidance Actions and/or certain categories of claims in
       Avoidance Actions be stayed for a fixed period prior to commencing particular Mediation
       Proceedings. During the period of such a stay or otherwise, in order to facilitate the
       exchange of information and to encourage productive negotiations between the Trustee and
       Avoidance Defendants, Judge Tancredi may schedule informational sessions and/or
       mediation sessions that include multiple Avoidance Defendants and/or certain categories
       of Avoidance Defendants. To the extent that Judge Tancredi recommends staying claims
       in Avoidance Actions and/or categories of claims in Avoidance Actions, the Trustee (within
       seven (7) days of the issuance of such recommendations) shall cause notice of same to be
       filed in the applicable Avoidance Actions, and any Avoidance Defendant impacted by such
       recommended stay and the Trustee may file a written response in its Avoidance Action(s)
       within seven (7) days of the filing of notice. Upon a hearing considering Judge Tancredi’s
       recommendations and any timely written response but without need for the filing of a
       motion, the Court may enter further orders addressing any recommendations issued by
       Judge Tancredi, including, without limitation, the stay of claims in Avoidance Actions or
       categories of claims in Avoidance Actions prior to one-on-one mediation.

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                z.      Notwithstanding anything in the Avoidance Action Procedures to the
        contrary, these Mediation Procedures may be modified by the Court upon the request of
        the Trustee or any other party in interest, or as otherwise ordered by the Court (including,
        without limitation, upon recommendations issued by Judge Tancredi), upon a motion filed
        in the Main Case only in accordance with any applicable rules, provided, however, the
        revised Mediation Procedures, upon approval, shall be filed in all Avoidance Actions.
                aa.     On or before May 17, 2024, the Trustee shall file on the docket of the Main
        Case a list of Avoidance Actions in which a Mediation Referral has occurred. The list shall
        include the claims to be mediated and the Avoidance Defendants who are parties to the
        Mediation Proceedings. From time to time, the Court or Judge Tancredi may request an
        updated list.
        3.      Within seven (7) days of the entry of this Order, the Trustee shall file the Avoidance

 Action Procedures Notice (in the revised form attached hereto as Exhibit 1) in all Avoidance

 Actions pending as of the entry of this Order.

        4.      The time periods set forth in this Order and the Avoidance Action Procedures shall

 be calculated in accordance with Bankruptcy Rule 9006(a).

        5.      To the extent that information in an Avoidance Complaint (or its exhibits) may be

 subject to the Privacy Act of 1974, 5 U.S.C. § 552a, et al., this Order constitutes an order of a court

 of competent jurisdiction authorizing the disclosure of such information to any Avoidance

 Defendant and its counsel, pursuant to 5 U.S.C. § 552a(b)(11) and 12 C.F.R § 310.10(b). This

 Order also amends the Protective Order and the P.O. Addendum to permit the Trustee, to the extent

 provided in the Avoidance Action Procedures, to disclose to any Avoidance Defendant information

 in an Avoidance Complaint (filed against such defendant) that is designated as highly confidential

 under the Protective Order or the P.O. Addendum.

        6.      Pursuant to District of Connecticut Local Rule of Civil Procedure 5(e), District of

 Connecticut Local Rule of Bankruptcy Procedure 9077-1, Bankruptcy Rule 9018, and section

 107(b) of the Bankruptcy Code, this constitutes an Order of the Court authorizing the sealed filing

 of Avoidance Complaints and of motions seeking approval of settlements to the extent permitted

 by the Mediation Procedures.

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        7.     The Court retains jurisdiction with respect to all matters arising from or related to

 the implementation of this Order.

        8.     This Order shall be effective immediately upon entry.




               Dated at Bridgeport, Connecticut this 2nd day of May, 2024.




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                                     EXHIBIT 1

             (Form Notice of Applicability of Avoidance Action Procedures)
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                               UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF CONNECTICUT
                                     BRIDGEPORT DIVISION

 ------------------------------------------------------x

 In re:                                                        Chapter 11

 HO WAN KWOK, et al., 1                                        Case No. 22-50073 (JAM)

                                  Debtors.                     (Jointly Administered)

 ------------------------------------------------------x

 LUC A. DESPINS, CHAPTER 11
 TRUSTEE,
                                                               Adv. Proceeding No. [              ]
                                  Plaintiff,
 v.


 [NAME OF DEFENDANT]

                                  Defendant.

 ------------------------------------------------------x


          NOTICE OF APPLICABILITY OF AVOIDANCE ACTION PROCEDURES

          PLEASE TAKE NOTICE, that the Amended Order Approving Procedures Applicable to

 Avoidance Claim Adversary Proceedings entered by the Bankruptcy Court in the above-captioned

 chapter 11 case [ECF No. ___] appended hereto as Exhibit A, is hereby made applicable to and

 governs this adversary proceeding.




 1
      The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
      Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever Holdings
      LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The mailing address
      for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul Hastings LLP, 200 Park
      Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok (solely for purposes
      of notices and communications).
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 Dated:   _________ __, 2024
          New Haven, Connecticut


                                       By: ______________________
                                          Patrick R. Linsey (ct29437)
                                          NEUBERT, PEPE & MONTEITH, P.C.
                                          195 Church Street, 13th Floor
                                          New Haven, Connecticut 06510
                                          (203) 781-2847
                                          plinsey@npmlaw.com

                                             and

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                                          PAUL HASTINGS LLP
                                          2050 M Street NW
                                          Washington, D.C., 20036
                                          (202) 551-1902
                                          nicholasbassett@paulhastings.com

                                             and

                                          Avram E. Luft (admitted pro hac vice)
                                          Douglass Barron (admitted pro hac vice)
                                          PAUL HASTINGS LLP
                                          200 Park Avenue
                                          New York, New York 10166
                                          (212) 318-6079
                                          aviluft@paulhastings.com

                                          Counsel for the Chapter 11 Trustee




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                                     EXHIBIT 2

                        (Caption Applicable to Omnibus Filings)
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                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF CONNECTICUT
                                          BRIDGEPORT DIVISION
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                                                       :  Chapter 11
 In re:                                                :
                                                       :  Case No. 22-50073 (JAM)
 HO WAN KWOK, et al., 1                                :
                                                       :  (Jointly Administered)
                                  Debtors.             :
                                                       :
 ------------------------------------------------------x Adv. Proc. Nos. 24-XXXX, 24-XXXX,
                                                       : 24-XXXX, 24-XXXX, 24-XXXX,
 LUC A. DESPINS, CHAPTER 11                            : 24-XXXX, 24-XXXX, 24-XXXX, 24-
 TRUSTEE,                                              : XXXX, 24-XXXX, 24-XXXX, 24-XXXX,
                                                       : 24-XXXX, 24-XXXX, 24-XXXX, 24-
                                  Plaintiff,           : XXXX, 24-XXXX, 24-XXXX, 24-XXXX,
 v.                                                    : 24-XXXX, 24-XXXX, 24-XXXX, 24-
                                                       : XXXX, 24-XXXX, 24-XXXX, 24-XXXX,
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                                                       : XXXX, 24-XXXX, 24-XXXX, 24-XXXX,
 AVOIDANCE DEFENDANTS                                  : 24-XXXX, 24-XXXX, 24-XXXX, 24-
                                                       : XXXX, 24-XXXX, 24-XXXX, 24-XXXX,
                                  Defendants.          : 24-XXXX, 24-XXXX, 24-XXXX, 24-
                                                       x XXXX, 24-XXXX, 24-XXXX, 24-XXXX,
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 1
     The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
     Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever Holdings
     LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The mailing address
     for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul Hastings LLP, 200 Park
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                                    EXHIBIT 3-A

                          (Avoidance Claims Subject to Stay)
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                                     EXHIBIT 3-B

                       (Avoidance Claims Subject to Partial Stay)
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                                      EXHIBIT 4

     (List of Avoidance Defendants Not Automatically Subject to Mediation Referral)
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    1. ACA Capital Limited
    2. Anton Development Limited
    3. Bannon Strategic Advisors, Inc.
    4. Barnett, Scott
    5. Berkeley Rowe Limited
    6. BSA Strategic Fund
    7. BSA Strategic Fund I
    8. Chiesa Shahinian & Giantomasi PC
    9. China Golden Spring Group (Hong Kong) Ltd.
    10. Debeche, Kamel
    11. DiBattista, Anthony
    12. Enriquez, Bernardo
    13. Federal Corporation
    14. Fiesta Investment Ltd. f/k/a Fiesta Property Developments Ltd.
    15. G Club Holdco I LLC
    16. G Club International Limited
    17. G Club Operations LLC
    18. G Club Three
    19. G Fashion
    20. G Fashion International Limited
    21. G Fashion Media Group Inc.
    22. Gettr USA, Inc.
    23. GF Italy, LLC
    24. GFNY Inc.
    25. Gold Leaf Consulting Limited
    26. Golden Gate Himalaya Farm LLC
    27. Golden Spring (New York) Limited
    28. Greenwich Land LLC
    29. GS Security Solutions Inc.
    30. G-Service LLC
    31. G-Translators Pty Ltd
    32. Guo, Mei
    33. Guo, Qiang
    34. Gypsy Mei Food Services LLC
    35. HAA Group Pty Ltd
    36. Hadjicharalambous, Alex
    37. Hamilton Capital Holding Ltd
    38. Hamilton Investment Management Ltd
    39. Hamilton Opportunity Fund SPC
    40. Han, Chunguang
    41. Harcus Parker Limited
    42. HCHK Property Management Inc.
    43. HCHK Technologies Inc.
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    44. Himalaya Australia Athena Farm Inc.
    45. Himalaya Australia PTY Ltd.
    46. Himalaya Boston Mayflower LLC
    47. Himalaya Currency Clearing Pty Ltd.
    48. Himalaya International Clearing Ltd.
    49. Himalaya International Financial Group Ltd
    50. Himalaya International Reserves Ltd
    51. Himalaya New World Inc.
    52. Himalaya New York Rock
    53. Himalaya Shanghai Farm LLC
    54. Himalaya UK Club
    55. Himalaya Worldwide LS
    56. HML Vancouver Sailing Farm Ltd.
    57. Hong Kong International Funds Investments Limited
    58. Hudson Diamond NY LLC
    59. Je, Kin Ming
    60. Krasner, Max
    61. Lamp Capital LLC
    62. Lawall & Mitchell, LLC
    63. Leading Shine NY Limited
    64. Lee, Chris
    65. Lexington Property and Staffing Inc.
    66. Miller, Jason
    67. Mitchell, Aaron
    68. MOS Himalaya Foundation Inc.
    69. Mountains of Spices Inc.
    70. Ngok, Hing Chi
    71. O.S.C. Orbit II Service Company LLC
    72. Omicron Nutraceutical LLC
    73. OSC Orbit Service Company LLC
    74. Oxford Visionary Ltd.
    75. Pillsbury Winthrop Shaw Pittman LLP
    76. Rising Sun Capital Ltd.
    77. Rong, Sin Ting
    78. Rosy Acme Ventures Limited
    79. Rule of Law III Foundation Inc.
    80. Rule of Law Society IV Inc.
    81. Saraca Media Group, Inc.
    82. Taurus Fund LLC
    83. The Francis Firm PLLC
    84. Troutman Pepper Hamilton Sanders LLP
    85. UK Himalaya Ltd.
    86. V.X. Cerda & Associates P.A.

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    87. Wang, Yanping
    88. Warroom Broadcasting & Media Communications LLC
    89. Zeisler & Zeisler, P.C.
    90. Zhang, Yongbing
    91. ZYB & Associates, LLC, d/b/a Law Offices of Yongbing Zhang
    92. Any potential Avoidance Defendant that is subject to a stipulated tolling order entered by
        the Court.




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